Case 0:18-cv-62733-PCH Document 12 Entered on FLSD Docket 03/01/2019 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

 MICHAEL KING,                §
                              §
          Plaintiff,          §                    Civil Action No. 0:18-cv-62733-PCH
                              §
          v.                  §
                              §
 NATIONWIDE RECOVERY SERVICE, §
                              §
          Defendant.          §
                              §
                              §


                                  NOTICE OF SETTLEMENT

        TO THE CLERK:

 NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

 settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

 pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                               RESPECTFULLY SUBMITTED,

   DATED: March 1, 2019
                                              By: /s/ Amy L. Bennecoff Ginsburg
                                                  Amy L. Bennecoff Ginsburg, Esq.
                                                  Kimmel & Silverman, P.C.
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                                                  Attorney for the Plaintiff
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                                CERTIFICATE OF SERVICE

               I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

 copy of the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF

 system:

                                Ernest Henry Kohlmyer, Esq.
                                 Mary Grace Dyleski, Esq.
                           Shepard, Smith, Kohlmyer & Hand, P.A.
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                                   Attorneys for Defendant


 Dated: March 1, 2019                By: /s/ Amy L. Bennecoff Ginsburg
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